          Case 3:10-cv-00395-FM Document 8 Filed 01/05/11 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                              EL PASO DIVISION

PRISCILLA ORTEGA,                           §
Plaintiff                                   §
                                            §      CIVIL ACTION NO. 3:10-cv-00395-FM
vs.                                         §
                                            §
MONARCH RECOVERY                            §
MANAGEMENT, INC.                            §
FKA ACADEMY COLLECTION                      §
SERVICES, INC.,                             §
Defendant                                    §


                              NOTICE OF SETTLEMENT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       NOTICE IS HEREBY GIVEN that Plaintiff has filed with the Clerk of the

District Court, Western District of Texas, El Paso Division, Plaintiff’s Notice of

Settlement with all claims pending having been settled. Plaintiff hereby respectfully

requests that this Court allow sixty (60) days within which to complete the settlement and

to file a Dismissal in this matter. This Court shall retain jurisdiction over this matter until

fully resolved.
          Case 3:10-cv-00395-FM Document 8 Filed 01/05/11 Page 2 of 2




                                                 Respectfully submitted,
                                                 By: /s/Dennis R. Kurz
                                                 Dennis R. Kurz
                                                 Texas State Bar # 24068183
                                                 Attorney in Charge for Plaintiffs




WEISBERG & MEYERS, L.L.C.
Two Allen Center
1200 Smith Street
16th Floor
Houston, TX 77002
(888) 595-9111 ext. 412
(866) 842-3303 (fax)
                        CERTIFICATE OF SERVICE


       I certify that on January 5, 2011, I electronically filed the foregoing document
with the clerk of the U.S. District Court, Western District of Texas, El Paso Division
using the electronic case filing system of the court. Notification of the foregoing was sent
via the Court’s ECF system on January 5, 2011 to:

Mitch Moss, Esq.
Scott Hulse, P.C.
201 E Main Drive
El Paso TX 79901

                                                                /s/ Dennis R. Kurz
                                                                Dennis R. Kurz
